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                          UNITED STATES BANKRUPTCY COURT
                                            Southern District of Georgia

In the matter of:

Robert B. Norland and Kimberly L. Norland
Chapter 7 Case No. 17−10785−SDB
       Debtor(s)

Joseph E. Mitchell, III, Chapter 7 Trustee for Robert
B. Norland & Kimberly L. Norland
       Plaintiff(s)
                                                            Adversary Proceeding
vs.                                                         No. 18−01011−SDB
Brickyard Holdings, LLC
       Defendant(s)

James S.V. Weston
3527 Walton Way Ext.
Augusta, GA 30909

       On June 29, 2018 , you filed an adversary proceeding in this Court.

        Part VII of the Bankruptcy Rules requires service of your complaint upon certain parties in the manner specified in
Bankruptcy Rule 7004. I enclose, herewith, Summons and Notice which you should serve within seven (7) days from the date of
issuance along with a copy of your complaint. You are further required to file a `Certificate of Service' with the Clerk showing
that such service has been made. The certificate should list each party's name and address.

      FAILURE TO TIMELY SERVE THIS SUMMONS AND NOTICE AND COMPLAINT COULD RESULT IN DISMISSAL
OF SAID COMPLAINT.

                                                                                Lucinda Rauback, CLERK
                                                                                United States Bankruptcy Court
                                                                                Federal Justice Center
                                                                                600 James Brown Blvd
                                                                                P.O. Box 1487
                                                                                Augusta, GA 30903


Dated July 2, 2018

Enclosures




GASA−16[Rev. 12/14] AKG
